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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BRIAN THOMPSON

Plaintiff,

-V- i CIVIL ACTION No.: 23-CV-04742-PD
MOHAMED SAFA (Sergeant) JURY TRIAL DEMAND

Defendant.

PLAINTIFF'S MOTION TO DIRECT U.S. MARSHAL SERVICE

TO EFFECTUATE SERVICE OF AMENDED COMPLAINT

AND NOW, comes Plaintiff, Brian Thompson, Pro Se’, who respectfully moves this

Honorable Court for an Order directing U.S. Marshal Service to effectuate service

of Plaintiff's Amended Complaint, and avers the following in support thereof:

1. This Honorable Court's last Order granted Plaintiff 30 days to file an

Amended Complaint has been timely filed on November 20, 2024;

2. Plaintiff is responsible for effectuating the service of process of the
Amended Complaint on the defendant pursuant to and in accordance

with 28 U.S.C. § 1915(d) and Fed.R.Civ.P. 4(c)(3);

3. Pursuant to Fed.R.Civ.P. 4(c)(3), "the court may order that service be
made by a United States marshal or deputy marshal or by a person

specially appointed by the court. The court must so order if the plaintiff
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is authorized to proceed in forma pauperis under 28 U.S.C. § 1915."

4. Plaintiff has filed an in forma pauperis application for the sole purpose
of effectuating service of process via U.S. Marshal Service that is

currently pending before this Honorable Court;

5. Plaintiff was approved to proceed in forma pauperis in Montgomery

County Court of Common Pleas, prior to the case being moved by the

defendant to the District Court;

6. It is not practical or affordable for a Pro Se’ prisoner litigant to

effectuate service due to his indigency and incarceration.

WHEREFORE, Plaintiff respectfully moves this Honorable Court enter an Order
GRANTING this Motion to Direct U.S. Marshal Service to Effectuate Service of

Plaintiff's Amended Complaint.

Respectfully submitted,

Dated: November 21, 2024 A Mee. PEED
ae Thompson/JQ-0773
1200 Mokychic Dr.
Collegeville, PA 19426

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Defendant.

CERTIFICATE OF SERVICE

|, Brian Thompson, Plaintiff Pro Se’, do hereby certify that | am on this day,

serving the foregoing document(s) upon the person and in the manner as

indicated below, which service satisfies the requirements of Fed.R.Civ.P. 5(b)(2)

(c).

Service by first-class mail:
Brendan Mullen

Deputy Attorney General
1600 Arch St., Suite 300
Philadelphia, PA 19103

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Dated: November 21, 2024 "ote ee fro Le)

Brian Thompson/JQl0773
SCI-PHX

PO Box 33028

St. Petersburg, FL 33733

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